           Case 9:18-bk-05608-FMD            Doc 115     Filed 04/02/19   Page 1 of 2



                                        ORDERED.


     Dated: April 02, 2019




                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                FORT MYERS DIVISION
                                  www.flmb.uscourts.gov

  In re:                                                Chapter 11

  TRUTH TECHNOLOGIES, INC.,                             Case No. 9:18-bk-05608-FMD

                 Debtor.                                Judge Caryl E. Delano
  __________________________________/

                   ORDER CONTINUING CONFIRMATION HEARING
                   AND ALL PENDING MATTERS TO APRIL 17, 2019

       THIS CASE came on for a Hearing on March 27, 2019 at 10:30 a.m. in accordance with

the Order Conditionally Approving Disclosure Statement, Scheduling Confirmation Hearing and

Fixing Deadlines [ECF #103] (“Order Conditionally Approving Disclosure Statement”) and for

the confirmation of the Debtor’s Plan of Reorganization [ECF# 92] (“Plan”) and Disclosure

Statement for the Debtor’s Plan of Reorganization [ECF# 93] (“Disclosure Statement”) which

were filed by the Debtor on January 15, 2019. For the reasons stated orally and on the record in

open court, which shall constitute the ruling of the Court, it is
            Case 9:18-bk-05608-FMD        Doc 115     Filed 04/02/19     Page 2 of 2



       ORDERED:

       1.     All pending matters in this case, including the confirmation hearing on the Plan and

Disclosure Statement, are hereby continued to April 17, 2019 at 10:30 a.m. in Room 4-102,

Hearing Room, United States Courthouse, 2110 First Street, Ft. Myers, Florida 33901.

       2.     All dates and deadlines in the Order Conditionally Approving Disclosure Statement

are hereby contemporaneously extended to conform with the April 17, 2019 hearing date.

       3.     The Court shall retain jurisdiction to hear and determine all matters emanating

from this Order.

Michael Dal Lago is directed to: (i) serve a copy of this Order on interested parties who do not
receive service by CM/ECF; and (ii) file a Proof Service within 3 days of entry of this Order.
